Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF WASHINGTON

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Amity Court LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  14400 NE Bel Red Rd., Ste 204
                                  Bellevue, WA 98007
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  King                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                25-00240-WLH11                Doc 1        Filed 02/11/25             Entered 02/11/25 12:17:29                  Pg 1 of 43
Debtor    Amity Court LLC                                                                              Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         None of the above

                                      B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                5311

8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
                                         Chapter 7
     debtor filing?
                                         Chapter 9

                                         Chapter 11. Check all that apply:
                                                                 Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                 proceed under Subchapter V of Chapter 11.
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12

9.   Were prior bankruptcy               No.
     cases filed by or against
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                  When                                  Case number
                                                District                                  When                                  Case number

10. Are any bankruptcy cases             No
    pending or being filed by a
    business partner or an               Yes.
    affiliate of the debtor?




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
                 25-00240-WLH11                  Doc 1          Filed 02/11/25           Entered 02/11/25 12:17:29                        Pg 2 of 43
Debtor    Amity Court LLC                                                                                 Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                 25-00240-WLH11                       Doc 1         Filed 02/11/25            Entered 02/11/25 12:17:29                      Pg 3 of 43
Debtor    Amity Court LLC                                                                          Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      February 11, 2025
                                                  MM / DD / YYYY


                             X /s/ Stanley Xu                                                             Stanley Xu
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Authorized Person




18. Signature of attorney    X /s/ James L. Day                                                            Date February 11, 2025
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 James L. Day
                                 Printed name

                                 Bush Kornfeld LLP
                                 Firm name

                                 601 Union St., Suite 5000
                                 Seattle, WA 98101-2373
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (206) 292-2110                Email address      jday@bskd.com

                                 WSBA 20474 WA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
                 25-00240-WLH11               Doc 1        Filed 02/11/25             Entered 02/11/25 12:17:29                     Pg 4 of 43
Debtor    Amity Court LLC                                                                          Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      February 11, 2025
                                                  MM / DD / YYYY


                             X                                                                            Stanley Xu
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Authorized Person




18. Signature of attorney    X                                                                             Date February 11, 2025
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 James L. Day
                                 Printed name

                                 Bush Kornfeld LLP
                                 Firm name

                                 601 Union St., Suite 5000
                                 Seattle, WA 98101-2373
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (206) 292-2110                Email address      jday@bskd.com

                                 WSBA 20474 WA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
                 25-00240-WLH11               Doc 1        Filed 02/11/25             Entered 02/11/25 12:17:29                     Pg 5 of 43
                                   LIMITED LIABILITY COMPANY RESOLUTION
                                                Amity Court LLC

                  WHEREAS, Amity Court LLC, a Washington limited liability company (the
             "Company") is experiencing significant financial challenges; and

                      WHEREAS, the sole Member of the Company is X & C Holdings LLC (the “Member”);
             and

                    WHEREAS, it is the opinion of the Member that the only reasonable and prudent
             response to the Company’s financial circumstances is the filing of a voluntary petition in
             bankruptcy seeking protection and reorganization under Chapter 11 of the United States
             Bankruptcy Code; and

                    WHEREAS, the Company has selected the law firm of Bush Kornfeld LLP (“Bush
             Kornfeld”) to represent the Company’s interest in the Chapter 11 proceeding.

                  NOW, THEREFORE, the undersigned Member consents to the following action by the
             Company:

                    RESOLVED, that the Company shall employ Bush Kornfeld to represent it in the
             Chapter 11 proceedings, and shall seek to have that employment approved by the Bankruptcy
             Court as soon as is practicable; and it is

                     FURTHER RESOLVED, that the Company is hereby authorized to retain such other
             professional consultants on such terms of employment as are required in order to act in the best
             interests of the Company in prosecuting the Chapter 11 proceeding; and it is

                     FURTHER RESOLVED, that Stanley Xu, authorized person, is hereby authorized and
             directed to take such steps and execute such documentation as is required in order to effectuate
             any and all of the foregoing; and it is

                  FURTHER RESOLVED, that Stanley Xu, is hereby authorized and directed to cause the
             Company to file a Chapter 11 bankruptcy; and it is

                    FURTHER RESOLVED, that following the filing of the Chapter 11 bankruptcy, Stanley
             Xu is authorized to transmit information regarding the Company to the Bankruptcy Court, the
             US Trustee, and other parties in interest in behalf of the Company.

             Signatures on following page




2876 ib07ck0113
                  25-00240-WLH11     Doc 1    Filed 02/11/25     Entered 02/11/25 12:17:29        Pg 6 of 43
                                 7th
                      DATED this ______ day of February, 2025.


             AMITY COURT LLC, a Washington limited liability company

             By: X & C Holdings LLC, a Delaware limited liability company
               Its managing Member, Manager and Governor




             By:
             Nanling Chen, managing Member and Manger for X & C Holdings LLC




             By:
             Stanly Xu, Managing Member and Manager for X & C Holdings LLC




2876 ib07ck0113
                  25-00240-WLH11    Doc 1    Filed 02/11/25   Entered 02/11/25 12:17:29   Pg 7 of 43
Fill in this information to identify the case:

Debtor name         Amity Court LLC

United States Bankruptcy Court for the:     EASTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       February 11, 2025               X /s/ Stanley Xu
                                                           Signature of individual signing on behalf of debtor

                                                            Stanley Xu
                                                            Printed name

                                                            Authorized Person
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




           25-00240-WLH11                  Doc 1         Filed 02/11/25            Entered 02/11/25 12:17:29                  Pg 8 of 43
Fill in this information to identify the case:

Debtor name         Amity Court LLC

United States Bankruptcy Court for the:     EASTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       February 11, 2025               X
                                                             Signature of individual signing on behalf of debtor

                                                             Stanley Xu
                                                             Printed name

                                                             Authorized Person
                                                             Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




           25-00240-WLH11                  Doc 1         Filed 02/11/25             Entered 02/11/25 12:17:29                 Pg 9 of 43
 Fill in this information to identify the case:
 Debtor name Amity Court LLC
 United States Bankruptcy Court for the: EASTERN DISTRICT OF                                                                                 Check if this is an
                                                WASHINGTON
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 B.E.E. Consulting,                                                                                                                                                $3,500.00
 LLC
 22903 66th Place
 West
 Mountlake Terrace,
 WA 98043
 Bush, Roed &                                                                                                                                                    $22,565.75
 Hitchings, Inc.
 15400 SE 30th PL
 Suite 100
 Bellevue, WA 98007
 Clark Barnes                                                                                                                                                    $25,320.00
 1401 W. Garfield St.
 Seattle, WA 98119
 Conant Lens                                                                   Contingent                                                                          $1,659.00
 14400 Bel-Red Rd.
 Suite 102
 Bellevue, WA 98007
 CYT Makeup and                                                                Contingent                                                                          $1,239.00
 Hair Studio, LLC
 14400 Bel-Red Road
 Suite 109A
 Bellevue, WA 98007
 DCI Engineers                                                                                                                                                   $12,797.50
 818 Stewart St.
 Suite 1000
 Seattle, WA 98101
 Fora Landscape                                                                                                                                                    $3,000.00
 Architects
 1430 NE 65th St.
 Seattle, WA 98115
 InExt Staging                                                                 Contingent                                                                          $2,085.55
 14400 Bel-Red Rd.
 Suite 206
 Bellevue, WA 98007




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1




                    25-00240-WLH11           Doc 1         Filed 02/11/25             Entered 02/11/25 12:17:29                             Pg 10 of 43
 Debtor    Amity Court LLC                                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Kinese Studio                                                                 Contingent                                                                          $1,214.81
 14400 Bel-Red Road
 Suite 105
 Bellevue, WA 98007
 Levite Construction                                                           Contingent                                                                          $1,572.00
 Co.
 14400 Bel-Red Road
 Suite 204
 Bellevue, WA 98007
 Mona Foundation                                                               Contingent                                                                          $2,045.60
 14400 Bel-Red Road
 Suite 106
 Bellevue, WA 98007
 NSA Motors, LLC                                                               Contingent                                                                          $1,867.00
 14400 Bel-Red Road
 Suite 202
 Bellevue, WA 98007
 Olga Shade, LLC                                                               Contingent                                                                          $1,867.00
 14400 Bel-Red Road
 Unit 100
 Bellevue, WA 98007
 Rushing Company                                                                                                                                                 $47,000.00
 LLC
 1725 Westlake Ave
 N.
 Suite 300
 Seattle, WA 98109
 Ruthwise                                                                      Contingent                                                                          $2,446.00
 Investment, LLC
 14400 Bel-Red Road
 Suite 109B
 Bellevue, WA 98007
 Signature Eyelash                                                             Contingent                                                                          $3,600.00
 and Spa
 14400 Bel-Red Road
 Suite 204B
 Bellevue, WA 98007
 Sudden Beauty, LLC                                                            Contingent                                                                          $1,350.00
 14400 Bel-Red Road
 Suite 108B
 Bellevue, WA 98007
 Sysmax Tech Inc.                                                              Contingent                                                                          $3,108.00
 14400 Bel-Red Road
 Suite 110
 Bellevue, WA 98007
 US Tiny Bear                                                                  Contingent                                                                          $2,533.00
 Corporation
 14400 Bel-Red Road
 Suite 205
 Bellevue, WA 98007




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2




                    25-00240-WLH11           Doc 1         Filed 02/11/25             Entered 02/11/25 12:17:29                             Pg 11 of 43
 Debtor    Amity Court LLC                                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Wenrui Art Studio,                                                            Contingent                                                                          $1,395.25
 LLC
 14400 Bel-Red Rd.
 Suite 103
 Bellevue, WA 98007




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3




                    25-00240-WLH11           Doc 1         Filed 02/11/25             Entered 02/11/25 12:17:29                             Pg 12 of 43
Fill in this information to identify the case:

Debtor name           Amity Court LLC

United States Bankruptcy Court for the:                      EASTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $        7,780,000.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $           208,279.06

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $        7,988,279.06


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        5,629,380.77


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           146,442.46


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $           5,775,823.23




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1




            25-00240-WLH11                                 Doc 1               Filed 02/11/25                        Entered 02/11/25 12:17:29                                   Pg 13 of 43
Fill in this information to identify the case:

Debtor name         Amity Court LLC

United States Bankruptcy Court for the:     EASTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     US Bank                                           checking                              6571                                    $33,279.06



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                     $33,279.06
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit


          7.1.     Reserve account held by Axos Bank. The Debtor does not have access to the account.                                            $175,000.00



                   Property tax reserve account held by Axos Bank. The Debtor does not have access to
          7.2.     this account, and it does not know the current balance.                                                                          Unknown



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                        page 1



            25-00240-WLH11                  Doc 1      Filed 02/11/25            Entered 02/11/25 12:17:29                       Pg 14 of 43
Debtor       Amity Court LLC                                                         Case number (If known)
             Name

          Description, including name of holder of prepayment


9.        Total of Part 2.                                                                                                    $175,000.00
          Add lines 7 through 8. Copy the total to line 81.

Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.


Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of            Nature and          Net book value of         Valuation method used    Current value of
          property                               extent of           debtor's interest         for current value        debtor's interest
          Include street address or other        debtor's interest   (Where available)
          description such as Assessor           in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 2



           25-00240-WLH11                    Doc 1      Filed 02/11/25      Entered 02/11/25 12:17:29                  Pg 15 of 43
Debtor        Amity Court LLC                                                             Case number (If known)
              Name

           available.
           55.1. 14400 Northeast
                    Bellevue-Redmond
                    Road, Bellevue,
                    Washington 98007              fee simple                            $0.00         Appraisal                        $7,780,000.00




56.        Total of Part 9.                                                                                                         $7,780,000.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                          Net book value of             Valuation method used     Current value of
                                                                        debtor's interest             for current value         debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites

62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property
           Pending Real Estate Entitlements for buildout
           as housing units related to 14400 Bel-Red
           Road, Bellevue, WA 98007                                                     $0.00                                              Unknown



65.        Goodwill

66.        Total of Part 10.                                                                                                                  $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes


Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                           page 3



            25-00240-WLH11                 Doc 1         Filed 02/11/25          Entered 02/11/25 12:17:29                    Pg 16 of 43
Debtor        Amity Court LLC                                                              Case number (If known)
              Name

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                      Current value of
                                                                                                                      debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities
           Property and General liability Policy with Liberty Mutual-
           policy no 2563814213                                                                                                       $0.00



74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership

78.        Total of Part 11.                                                                                                        $0.00
           Add lines 71 through 77. Copy the total to line 90.

79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
              No
              Yes




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                 page 4



            25-00240-WLH11                 Doc 1        Filed 02/11/25           Entered 02/11/25 12:17:29          Pg 17 of 43
Debtor          Amity Court LLC                                                                                     Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                            $33,279.06

81. Deposits and prepayments. Copy line 9, Part 2.                                                               $175,000.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                      $7,780,000.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $208,279.06           + 91b.            $7,780,000.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $7,988,279.06




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 5



             25-00240-WLH11                          Doc 1            Filed 02/11/25                    Entered 02/11/25 12:17:29                      Pg 18 of 43
Fill in this information to identify the case:

Debtor name          Amity Court LLC

United States Bankruptcy Court for the:            EASTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                  Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                              that supports this
                                                                                                                  Do not deduct the value     claim
                                                                                                                  of collateral.
2.1    Axos Bank                                    Describe debtor's property that is subject to a lien               $5,629,380.77             $7,780,000.00
       Creditor's Name                              14400 Northeast Bellevue-Redmond Road,
       4350 La Jolla Village Drive                  Bellevue, Washington 98007
       Suite 100
       San Diego, CA 92122
       Creditor's mailing address                   Describe the lien

                                                    Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known               Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
           No                                          Contingent
           Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.



                                                                                                                        $5,629,380.7
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                   7

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 1




             25-00240-WLH11                       Doc 1        Filed 02/11/25                Entered 02/11/25 12:17:29                  Pg 19 of 43
Fill in this information to identify the case:

Debtor name        Amity Court LLC

United States Bankruptcy Court for the:         EASTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $500.00
          AMG Financial                                                        Contingent
          1402 Third Ave                                                       Unliquidated
          Suite 619
                                                                               Disputed
          Seattle, WA 98191
                                                                            Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes

3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $956.00
          Anna Lozhkina Photography                                            Contingent
          14400 Bel-Red Road                                                   Unliquidated
          Suite 204A
                                                                               Disputed
          Bellevue, WA 98007
                                                                            Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes

3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $3,500.00
          B.E.E. Consulting, LLC                                               Contingent
          22903 66th Place West                                                Unliquidated
          Mountlake Terrace, WA 98043                                          Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $22,565.75
          Bush, Roed & Hitchings, Inc.                                         Contingent
          15400 SE 30th PL                                                     Unliquidated
          Suite 100                                                            Disputed
          Bellevue, WA 98007
                                                                            Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page 1 of 5
                                                                                                          27718



             25-00240-WLH11                    Doc 1         Filed 02/11/25                Entered 02/11/25 12:17:29                              Pg 20 of 43
Debtor      Amity Court LLC                                                                 Case number (if known)
            Name

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $25,320.00
         Clark Barnes                                                 Contingent
         1401 W. Garfield St.                                         Unliquidated
         Seattle, WA 98119                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,659.00
         Conant Lens                                                  Contingent
         14400 Bel-Red Rd.                                            Unliquidated
         Suite 102
                                                                      Disputed
         Bellevue, WA 98007
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,144.00
         Cruise Center                                                Contingent
         14400 Bel-Red Road                                           Unliquidated
         Suite 103
                                                                      Disputed
         Bellevue, WA 98007
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,239.00
         CYT Makeup and Hair Studio, LLC                              Contingent
         14400 Bel-Red Road                                           Unliquidated
         Suite 109A
                                                                      Disputed
         Bellevue, WA 98007
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $12,797.50
         DCI Engineers                                                Contingent
         818 Stewart St.                                              Unliquidated
         Suite 1000                                                   Disputed
         Seattle, WA 98101
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,000.00
         Fora Landscape Architects                                    Contingent
         1430 NE 65th St.                                             Unliquidated
         Seattle, WA 98115                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,085.55
         InExt Staging                                                Contingent
         14400 Bel-Red Rd.                                            Unliquidated
         Suite 206
                                                                      Disputed
         Bellevue, WA 98007
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 2 of 5




            25-00240-WLH11                 Doc 1           Filed 02/11/25         Entered 02/11/25 12:17:29                              Pg 21 of 43
Debtor      Amity Court LLC                                                                 Case number (if known)
            Name

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,214.81
         Kinese Studio                                                Contingent
         14400 Bel-Red Road                                           Unliquidated
         Suite 105
                                                                      Disputed
         Bellevue, WA 98007
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,572.00
         Levite Construction Co.                                      Contingent
         14400 Bel-Red Road                                           Unliquidated
         Suite 204
                                                                      Disputed
         Bellevue, WA 98007
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,045.60
         Mona Foundation                                              Contingent
         14400 Bel-Red Road                                           Unliquidated
         Suite 106
                                                                      Disputed
         Bellevue, WA 98007
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,867.00
         NSA Motors, LLC                                              Contingent
         14400 Bel-Red Road                                           Unliquidated
         Suite 202
                                                                      Disputed
         Bellevue, WA 98007
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,867.00
         Olga Shade, LLC                                              Contingent
         14400 Bel-Red Road                                           Unliquidated
         Unit 100
                                                                      Disputed
         Bellevue, WA 98007
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $47,000.00
         Rushing Company LLC                                          Contingent
         1725 Westlake Ave N.                                         Unliquidated
         Suite 300                                                    Disputed
         Seattle, WA 98109
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,446.00
         Ruthwise Investment, LLC                                     Contingent
         14400 Bel-Red Road                                           Unliquidated
         Suite 109B
                                                                      Disputed
         Bellevue, WA 98007
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 3 of 5




            25-00240-WLH11                 Doc 1           Filed 02/11/25         Entered 02/11/25 12:17:29                              Pg 22 of 43
Debtor       Amity Court LLC                                                                 Case number (if known)
             Name

3.19      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $800.00
          S-On Chinese School                                          Contingent
          14400 Bel-Red Road                                           Unliquidated
          Suite 108B
                                                                       Disputed
          Bellevue, WA 98007
                                                                    Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.20      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,600.00
          Signature Eyelash and Spa                                    Contingent
          14400 Bel-Red Road                                           Unliquidated
          Suite 204B
                                                                       Disputed
          Bellevue, WA 98007
                                                                    Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.21      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $877.00
          Silver Pacific Home Care and Staff                           Contingent
          14400 Bel-Red Road                                           Unliquidated
          Suite 101B
                                                                       Disputed
          Bellevue, WA 98007
                                                                    Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.22      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,350.00
          Sudden Beauty, LLC                                           Contingent
          14400 Bel-Red Road                                           Unliquidated
          Suite 108B
                                                                       Disputed
          Bellevue, WA 98007
                                                                    Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.23      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,108.00
          Sysmax Tech Inc.                                             Contingent
          14400 Bel-Red Road                                           Unliquidated
          Suite 110
                                                                       Disputed
          Bellevue, WA 98007
                                                                    Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.24      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,533.00
          US Tiny Bear Corporation                                     Contingent
          14400 Bel-Red Road                                           Unliquidated
          Suite 205
                                                                       Disputed
          Bellevue, WA 98007
                                                                    Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.25      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,395.25
          Wenrui Art Studio, LLC                                       Contingent
          14400 Bel-Red Rd.                                            Unliquidated
          Suite 103
                                                                       Disputed
          Bellevue, WA 98007
                                                                    Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims


Official Form 206 E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 4 of 5




            25-00240-WLH11                  Doc 1           Filed 02/11/25         Entered 02/11/25 12:17:29                              Pg 23 of 43
Debtor      Amity Court LLC                                                                        Case number (if known)
            Name

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                  related creditor (if any) listed?                account number, if
                                                                                                                                                   any

Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                   Total of claim amounts
5a. Total claims from Part 1                                                                         5a.       $                           0.00
5b. Total claims from Part 2                                                                         5b.   +   $                     146,442.46

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                              5c.       $                        146,442.46




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 5 of 5




            25-00240-WLH11                    Doc 1          Filed 02/11/25              Entered 02/11/25 12:17:29                          Pg 24 of 43
Fill in this information to identify the case:

Debtor name       Amity Court LLC

United States Bankruptcy Court for the:     EASTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Office Lease- 14400
           lease is for and the nature of        Bel-Red Road, Suite
           the debtor's interest                 101A

               State the term remaining          4/30/2026                          AMG Financial
                                                                                    14400 Bel-Red Road
           List the contract number of any                                          Suite 101A
                 government contract                                                Bellevue, WA 98007


2.2.       State what the contract or            Office Lease- 14400
           lease is for and the nature of        Bel-Red Road, Suite
           the debtor's interest                 204A

               State the term remaining          2/28/2025
                                                                                    Anna Lozhkina Photography
           List the contract number of any                                          18318 32nd Ave SE
                 government contract                                                Bothell, WA 98012


2.3.       State what the contract or            Office Lease- 14400
           lease is for and the nature of        Bel-Red Road, Suite
           the debtor's interest                 102

               State the term remaining          7/31/2026                          Conant Lens
                                                                                    14400 Bel-Red Road
           List the contract number of any                                          Suite 102
                 government contract                                                Bellevue, WA 98007


2.4.       State what the contract or            Office Lease- 14400
           lease is for and the nature of        Bel-Red Road, Suite
           the debtor's interest                 103

               State the term remaining          5/31/26                            Cruise Center
                                                                                    14400 Bel-Red Road
           List the contract number of any                                          Suite 103
                 government contract                                                Bellevue, WA 98007




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 5




           25-00240-WLH11                  Doc 1        Filed 02/11/25            Entered 02/11/25 12:17:29                      Pg 25 of 43
Debtor 1 Amity Court LLC                                                         Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.5.      State what the contract or        Office Lease- 14400
          lease is for and the nature of    Bel-Red Road, Suite
          the debtor's interest             109A

             State the term remaining       7/31/2025                   CYT Makeup and Hair Studio, LLC
                                                                        14400 Bel-Red Road
          List the contract number of any                               Suite 109A
                government contract                                     Bellevue, WA 98007


2.6.      State what the contract or        Office Lease- 14400
          lease is for and the nature of    Bel-Red Road, Suite
          the debtor's interest             206

             State the term remaining       1/31/2025                   InExt Staging
                                                                        14400 Bel-Red Road
          List the contract number of any                               Suite 206
                government contract                                     Bellevue, WA 98007


2.7.      State what the contract or        Office Lease- 14400
          lease is for and the nature of    Bel-Red Road, Suite
          the debtor's interest             105

             State the term remaining       9/30/2025                   Kenese Studio
                                                                        14400 Bel-Red Road
          List the contract number of any                               Suite 105
                government contract                                     Bellevue, WA 98007


2.8.      State what the contract or        Office Lease- 14400
          lease is for and the nature of    Bel-Red Road, Suite
          the debtor's interest             203

             State the term remaining       3/31/2026                   Levite Construction Co.
                                                                        14400 Bel-Red Road
          List the contract number of any                               Suite 203
                government contract                                     Bellevue, WA 98007


2.9.      State what the contract or        Property management
          lease is for and the nature of    services contract
          the debtor's interest

             State the term remaining       perpetual                   Longwell Company
                                                                        14400 Bel-Red Road
          List the contract number of any                               Suite 400
                government contract                                     Bellevue, WA 98007




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 2 of 5




          25-00240-WLH11               Doc 1     Filed 02/11/25        Entered 02/11/25 12:17:29            Pg 26 of 43
Debtor 1 Amity Court LLC                                                         Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.10.     State what the contract or        Office Lease- 14400
          lease is for and the nature of    Bel-Red Road, Suite
          the debtor's interest             204

             State the term remaining       12/31/2026                  Longwell Office II LLC
                                                                        14400 Bel-Red Road
          List the contract number of any                               Suite 204
                government contract                                     Bellevue, WA 98007


2.11.     State what the contract or        Office Lease- 14400
          lease is for and the nature of    Bel-Red Road, Suite
          the debtor's interest             208

             State the term remaining       2/28/2025                   LuComm Technologies
                                                                        14400 Bel-Red Road
          List the contract number of any                               Suite 208
                government contract                                     Bellevue, WA 98007


2.12.     State what the contract or        Office Lease- 14400
          lease is for and the nature of    Bel-Red Road, Suite
          the debtor's interest             106

             State the term remaining       5/31/2025                   Mona Foundation
                                                                        14400 Bel-Red Road
          List the contract number of any                               Suite 106
                government contract                                     Bellevue, WA 98007


2.13.     State what the contract or        Office Lease- 14400
          lease is for and the nature of    Bel-Red Road, Suite
          the debtor's interest             202

             State the term remaining       12/31/2025
                                                                        NSA Motors, LLC
          List the contract number of any                               816 NE 43rd St. Apt 110
                government contract                                     Seattle, WA 98105


2.14.     State what the contract or        Office Lease- 14400
          lease is for and the nature of    Bel-Red Road, Suite
          the debtor's interest             100

             State the term remaining       10/31/2026
                                                                        Olga Shade, LLC
          List the contract number of any                               623 Market St.
                government contract                                     Kirkland, WA 98033




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 3 of 5




          25-00240-WLH11               Doc 1     Filed 02/11/25        Entered 02/11/25 12:17:29            Pg 27 of 43
Debtor 1 Amity Court LLC                                                         Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.15.     State what the contract or        Office Lease- 14400
          lease is for and the nature of    Bel-Red Road, Suite
          the debtor's interest             101C

             State the term remaining       2/28/2026
                                                                        Olga Shade, LLC
          List the contract number of any                               623 Market St.
                government contract                                     Kirkland, WA 98033


2.16.     State what the contract or        Office Lease- 14400
          lease is for and the nature of    Bel-Red Road, Suite
          the debtor's interest             109B

             State the term remaining       8/31/2026                   Ruthwise Investment, LLC
                                                                        14400 Bel-Red Road
          List the contract number of any                               Suite 109B
                government contract                                     Bellevue, WA 98007


2.17.     State what the contract or        Office Lease- 14400
          lease is for and the nature of    Bel-Red Road, Suite
          the debtor's interest             108A

             State the term remaining       10/31/2025
                                                                        S-On Chinese School LLC
          List the contract number of any                               1007 221 St. Ave. NE
                government contract                                     Sammamish, WA 98074


2.18.     State what the contract or        Office Lease- 14400
          lease is for and the nature of    Bel-Red Road, Suite
          the debtor's interest             204B

             State the term remaining       10/31/2025                  Signature Eyelash and Spa
                                                                        14400 Bel-Red Road
          List the contract number of any                               Suite 204B
                government contract                                     Bellevue, WA 98007


2.19.     State what the contract or        Office Lease- 14400
          lease is for and the nature of    Bel-Red Road, Suite
          the debtor's interest             101B

             State the term remaining       2/28/2026
                                                                        Silver Pacific Home Care and Staff
          List the contract number of any                               4275 S. Pine St., Ste A310
                government contract                                     Tacoma, WA 98409




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 4 of 5




          25-00240-WLH11               Doc 1     Filed 02/11/25        Entered 02/11/25 12:17:29             Pg 28 of 43
Debtor 1 Amity Court LLC                                                         Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.20.     State what the contract or        Office Lease- 14400
          lease is for and the nature of    Bel-Red Road, Suite
          the debtor's interest             108B

             State the term remaining       3/31/2025
                                                                        Sudden Beauty, LLC
          List the contract number of any                               21745 NE 181 PL
                government contract                                     Woodinville, WA 98077


2.21.     State what the contract or        Office Lease- 14400
          lease is for and the nature of    Bel-Red Road, Suite
          the debtor's interest             110

             State the term remaining       5/31/2025                   Sysmax Tech Inc.
                                                                        14400 Bel-Red Road
          List the contract number of any                               Suite 110
                government contract                                     Bellevue, WA 98007


2.22.     State what the contract or        Office Lease- 14400
          lease is for and the nature of    Bel-Red Road, Suite
          the debtor's interest             205

             State the term remaining       6/30/2025
                                                                        US Tiny Bear Corporation
          List the contract number of any                               8715 NE 159th Ct.
                government contract                                     Kenmore, WA 98028


2.23.     State what the contract or        Office Lease- 14400
          lease is for and the nature of    Bel-Red Road, Suite
          the debtor's interest             104

             State the term remaining       8/31/2025
                                                                        Wenrui Art Studio, LLC
          List the contract number of any                               22922 NE 15th PL
                government contract                                     Sammamish, WA 98074




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 5 of 5




          25-00240-WLH11               Doc 1     Filed 02/11/25        Entered 02/11/25 12:17:29            Pg 29 of 43
Fill in this information to identify the case:

Debtor name      Amity Court LLC

United States Bankruptcy Court for the:   EASTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Nanling Chen                14400 Bel-Red Road                                        Axos Bank                          D   2.1
                                      Unit 204                                                                                     E/F
                                      Bellevue, WA 98007
                                                                                                                                   G




   2.2    Stanley Xu                  14400 Bel-Red Road                                        Axos Bank                          D   2.1
                                      Unit 204                                                                                     E/F
                                      Bellevue, WA 98007
                                                                                                                                   G




   2.3    X & C Holdings              14400 Bel-Red Road                                        Axos Bank                          D   2.1
          LLC                         Unit 204                                                                                     E/F
                                      Bellevue, WA 98007
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1



          25-00240-WLH11                  Doc 1      Filed 02/11/25            Entered 02/11/25 12:17:29                    Pg 30 of 43
                                                      United States Bankruptcy Court
                                                           Eastern District of Washington
 In re    Amity Court LLC                                                                                         Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
X & C Holdings LLC                                                                                                           100% member
14400 Bel-Red Road
Suite 204
Bellevue, WA 98007


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Authorized Person of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



Date February 11, 2025                                                   Signature /s/ Stanley Xu
                                                                                        Stanley Xu

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders




           25-00240-WLH11                  Doc 1         Filed 02/11/25              Entered 02/11/25 12:17:29                        Pg 31 of 43
                                                      United States Bankruptcy Court
                                                           Eastern District of Washington
 In re    Amity Court LLC                                                                                         Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
X & C Holdings LLC                                                                                                           100% member
14400 Bel-Red Road
Suite 204
Bellevue, WA 98007


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Authorized Person of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



Date February 11, 2025                                                   Signature
                                                                                        Stanley Xu

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders




           25-00240-WLH11                  Doc 1         Filed 02/11/25              Entered 02/11/25 12:17:29                        Pg 32 of 43
                                               United States Bankruptcy Court
                                                   Eastern District of Washington
 In re   Amity Court LLC                                                                         Case No.
                                                                    Debtor(s)                    Chapter     11




                                   VERIFICATION OF CREDITOR MATRIX


I, the Authorized Person of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




Date:     February 11, 2025                             /s/ Stanley Xu
                                                        Stanley Xu/Authorized Person
                                                        Signer/Title




          25-00240-WLH11               Doc 1     Filed 02/11/25         Entered 02/11/25 12:17:29                 Pg 33 of 43
                                               United States Bankruptcy Court
                                                   Eastern District of Washington
 In re   Amity Court LLC                                                                         Case No.
                                                                    Debtor(s)                    Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the Authorized Person of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




Date:     February 11, 2025
                                                        Stanley Xu/Authorized Person
                                                        Signer/Title




          25-00240-WLH11               Doc 1     Filed 02/11/25         Entered 02/11/25 12:17:29                  Pg 34 of 43
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                       Amity Court LLC
                       14400 NE Bel Red Rd., Ste 204
                       Bellevue, WA 98007



                       James L. Day
                       Bush Kornfeld LLP
                       601 Union St., Suite 5000
                       Seattle, WA 98101-2373



                       US Attorney
                       Attn Bankruptcy Assistant
                       700 Stewart ST #5220
                       Seattle, WA 98101-4438



                       Internal Revenue Service
                       Jackson Federal Bldg
                       915 2nd Ave M/S W243
                       Seattle, WA 98174



                       US Treasury
                       Secretary of the Treasury
                       1500 Pennsylvania Ave NW
                       Washington, DC 20220



                       WA Dept of Rev-SEA
                       Bankruptcy/Claims Unit
                       2101 4th Ave #1400
                       Seattle, WA 98121-2300



                       WA Dept of L&I-OLY
                       Collections
                       PO Box 44170
                       Olympia, WA 98504-4170



                       WA Dept of Emp Sec-OLY
                       UI Tax Admin
                       PO Box 9046
                       Olympia, WA 98507-9046




    25-00240-WLH11   Doc 1   Filed 02/11/25   Entered 02/11/25 12:17:29   Pg 35 of 43
                   WA Attorney General
                   Bankruptcy & Collections Unit
                   800 5th Ave #2000
                   Seattle, WA 98104



                   United States of America
                   Internal Revenue Service
                   915 Second Ave.
                   Seattle, WA 98174



                   Attorney General of the
                    United States
                   US Department of Justice
                   950 Pennsylvania Ave. NW
                   Washington, DC 20530-0001



                   U.S. Small Business Admin
                   Legal Dept.
                   2401 Fourth Ave. #450
                   Seattle, WA 98121



                   U.S. Dept. of Justice
                   U.S. Attorney's Office, EDWA
                   PO Box 1494
                   Spokane, WA 99210-1494



                   AMG Financial
                   1402 Third Ave
                   Suite 619
                   Seattle, WA 98191



                   AMG Financial
                   14400 Bel-Red Road
                   Suite 101A
                   Bellevue, WA 98007



                   Anna Lozhkina Photography
                   14400 Bel-Red Road
                   Suite 204A
                   Bellevue, WA 98007



25-00240-WLH11   Doc 1   Filed 02/11/25   Entered 02/11/25 12:17:29   Pg 36 of 43
                   Anna Lozhkina Photography
                   18318 32nd Ave SE
                   Bothell, WA 98012



                   Axos Bank
                   4350 La Jolla Village Drive
                   Suite 100
                   San Diego, CA 92122



                   B.E.E. Consulting, LLC
                   22903 66th Place West
                   Mountlake Terrace, WA 98043



                   Bush, Roed & Hitchings, Inc.
                   15400 SE 30th PL
                   Suite 100
                   Bellevue, WA 98007



                   Clark Barnes
                   1401 W. Garfield St.
                   Seattle, WA 98119



                   Conant Lens
                   14400 Bel-Red Rd.
                   Suite 102
                   Bellevue, WA 98007



                   Conant Lens
                   14400 Bel-Red Road
                   Suite 102
                   Bellevue, WA 98007



                   Cruise Center
                   14400 Bel-Red Road
                   Suite 103
                   Bellevue, WA 98007




25-00240-WLH11   Doc 1   Filed 02/11/25   Entered 02/11/25 12:17:29   Pg 37 of 43
                   CYT Makeup and Hair Studio, LLC
                   14400 Bel-Red Road
                   Suite 109A
                   Bellevue, WA 98007



                   DCI Engineers
                   818 Stewart St.
                   Suite 1000
                   Seattle, WA 98101



                   Fora Landscape Architects
                   1430 NE 65th St.
                   Seattle, WA 98115



                   InExt Staging
                   14400 Bel-Red Rd.
                   Suite 206
                   Bellevue, WA 98007



                   InExt Staging
                   14400 Bel-Red Road
                   Suite 206
                   Bellevue, WA 98007



                   Kenese Studio
                   14400 Bel-Red Road
                   Suite 105
                   Bellevue, WA 98007



                   Kinese Studio
                   14400 Bel-Red Road
                   Suite 105
                   Bellevue, WA 98007



                   Levite Construction Co.
                   14400 Bel-Red Road
                   Suite 204
                   Bellevue, WA 98007




25-00240-WLH11   Doc 1   Filed 02/11/25   Entered 02/11/25 12:17:29   Pg 38 of 43
                   Levite Construction Co.
                   14400 Bel-Red Road
                   Suite 203
                   Bellevue, WA 98007



                   Longwell Company
                   14400 Bel-Red Road
                   Suite 400
                   Bellevue, WA 98007



                   Longwell Office II LLC
                   14400 Bel-Red Road
                   Suite 204
                   Bellevue, WA 98007



                   LuComm Technologies
                   14400 Bel-Red Road
                   Suite 208
                   Bellevue, WA 98007



                   Mona Foundation
                   14400 Bel-Red Road
                   Suite 106
                   Bellevue, WA 98007



                   Nanling Chen
                   14400 Bel-Red Road
                   Unit 204
                   Bellevue, WA 98007



                   NSA Motors, LLC
                   14400 Bel-Red Road
                   Suite 202
                   Bellevue, WA 98007



                   NSA Motors, LLC
                   816 NE 43rd St. Apt 110
                   Seattle, WA 98105




25-00240-WLH11   Doc 1   Filed 02/11/25   Entered 02/11/25 12:17:29   Pg 39 of 43
                   Olga Shade, LLC
                   14400 Bel-Red Road
                   Unit 100
                   Bellevue, WA 98007



                   Olga Shade, LLC
                   623 Market St.
                   Kirkland, WA 98033



                   Rushing Company LLC
                   1725 Westlake Ave N.
                   Suite 300
                   Seattle, WA 98109



                   Ruthwise Investment, LLC
                   14400 Bel-Red Road
                   Suite 109B
                   Bellevue, WA 98007



                   S-On Chinese School
                   14400 Bel-Red Road
                   Suite 108B
                   Bellevue, WA 98007



                   S-On Chinese School LLC
                   1007 221 St. Ave. NE
                   Sammamish, WA 98074



                   Signature Eyelash and Spa
                   14400 Bel-Red Road
                   Suite 204B
                   Bellevue, WA 98007



                   Silver Pacific Home Care and Staff
                   14400 Bel-Red Road
                   Suite 101B
                   Bellevue, WA 98007




25-00240-WLH11   Doc 1   Filed 02/11/25   Entered 02/11/25 12:17:29   Pg 40 of 43
                   Silver Pacific Home Care and Staff
                   4275 S. Pine St., Ste A310
                   Tacoma, WA 98409



                   Stanley Xu
                   14400 Bel-Red Road
                   Unit 204
                   Bellevue, WA 98007



                   Sudden Beauty, LLC
                   14400 Bel-Red Road
                   Suite 108B
                   Bellevue, WA 98007



                   Sudden Beauty, LLC
                   21745 NE 181 PL
                   Woodinville, WA 98077



                   Sysmax Tech Inc.
                   14400 Bel-Red Road
                   Suite 110
                   Bellevue, WA 98007



                   US Tiny Bear Corporation
                   14400 Bel-Red Road
                   Suite 205
                   Bellevue, WA 98007



                   US Tiny Bear Corporation
                   8715 NE 159th Ct.
                   Kenmore, WA 98028



                   Wenrui Art Studio, LLC
                   14400 Bel-Red Rd.
                   Suite 103
                   Bellevue, WA 98007




25-00240-WLH11   Doc 1   Filed 02/11/25   Entered 02/11/25 12:17:29   Pg 41 of 43
                   Wenrui Art Studio, LLC
                   22922 NE 15th PL
                   Sammamish, WA 98074



                   X & C Holdings LLC
                   14400 Bel-Red Road
                   Unit 204
                   Bellevue, WA 98007




25-00240-WLH11   Doc 1   Filed 02/11/25   Entered 02/11/25 12:17:29   Pg 42 of 43
                                         United States Bankruptcy Court
                                            Eastern District of Washington
 In re   Amity Court LLC                                                            Case No.
                                                           Debtor(s)                Chapter    11




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Amity Court LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
X & C Holdings LLC
14400 Bel-Red Road
Suite 204
Bellevue, WA 98007




  None [Check if applicable]




February 11, 2025                              /s/ James L. Day
Date                                           James L. Day
                                               Signature of Attorney or Litigant
                                               Counsel for Amity Court LLC
                                               Bush Kornfeld LLP
                                               601 Union St., Suite 5000
                                               Seattle, WA 98101-2373
                                               (206) 292-2110 Fax:(206) 292-2104
                                               jday@bskd.com




         25-00240-WLH11          Doc 1     Filed 02/11/25         Entered 02/11/25 12:17:29         Pg 43 of 43
